8:04-cr-00158-LES-SMB   Doc # 107   Filed: 06/20/05    Page 1 of 1 - Page ID # 404



               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:04CR158
                              )
          v.                  )
                              )
JOSHUA THORPE,                )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

for appointment of an attorney (Filing No. 99) and his motion to

proceed in forma pauperis (Filing No. 100).             The Court will grant

defendant’s motion to proceed in forma pauperis and refer his

motion for appointment of an attorney to the United States Court

of Appeals for the Eighth Circuit.         Accordingly,

           IT IS ORDERED:

           1) Defendant’s motion to proceed in forma pauperis is

granted;

           2) Defendant’s motion for appointment of an attorney is

referred to the United States Court of Appeals for the Eighth

Circuit.

           DATED this 20th day of June, 2005.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
